               Case 4:24-cv-02655-JST Document 58 Filed 09/10/24 Page 1 of 9




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                                    UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10                                       OAKLAND DIVISION

11   Abdi Nazemian, et al.,                       Case No. 4:24-cv-01454-JST
                                                  Case No. 4:24-cv-02655-JST
12                  Plaintiffs,
                                                  JOINT STIPULATION AND [PROPOSED]
13          vs.                                   ORDER RE CASE SCHEDULE
14   NVIDIA Corporation,                          Judge: Hon. Jon S. Tigar
                                                  Courtroom: 6 - 2nd Floor
15                  Defendant.
16
     Andre Dubus III, et al.,
17
                    Plaintiffs,
18
            vs.
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     NVIDIA Corp.,
20
                    Defendant.
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       Case No. 4:24-cv-01454-JST
       Case No. 4:24-cv-02655-JST
                          JOINT STIPULATION AND [PROPOSED] ORDER RE CASE SCHEDULE
                 Case 4:24-cv-02655-JST Document 58 Filed 09/10/24 Page 2 of 9




 1                       JOINT STIPULATION RE PROPOSED CASE SCHEDULE
 2          Pursuant to Civil Local Rule 6-1 and the Court’s Order After Case Management Conference

 3   (ECF No. 68), entered on September 9, 2024, the parties jointly submit the following proposed case

 4   schedule:

 5
                                       Event                                 Proposed Date
 6
             Parties must submit stipulated ESI Protocol or each       September 19, 2024
 7           ﬁle letter brief up to 10 pages
 8
             Parties must submit stipulated Protective Order or        September 19, 2024
 9           each ﬁle letter brief up to 10 pages

10           If required, parties each submit responsive brief up to   September 26, 2024
             5 pages regarding ESI Protocol
11

12           If required, parties each submit responsive brief up to   September 26, 2024
             5 pages regarding Protective Order
13
             Hearing on proposed Protective Order and ESI              October 16, 2024, 9:30 am
14
             Protocol                                                  PT
15
             Date by which parties must submit an agreed upon          March 25, 2025
16           Deposition Protocol or a joint letter brief regarding
             any disputed areas
17

18           Deadline for Plaintiﬀs to ﬁle an amended pleading         April 15, 2025

19           Substantial completion of productions                     July 1, 2025
20           Deadline for Producing party to complete production       July 17, 2025
21           of privilege logs for any documents redacted or
             withheld on the basis of any privilege to date
22
             Close of Fact Discovery                                   November 20, 2025
23

24           Service of Opening Expert Report(s) (on issues for        January 7, 2026
             which a party bears the burden of proof)
25
             Service of Rebuttal Expert Report(s) (on issues for       February 18, 2026
26           which a party does not bear the burden of proof)
27
             Service of Expert Reply Report(s)                         April 1, 2026
28
       Case No. 4:24-cv-01454-JST                     1
       Case No. 4:24-cv-02655-JST
                                     JOINT STIPULATION RE CASE SCHEDULE
                 Case 4:24-cv-02655-JST Document 58 Filed 09/10/24 Page 3 of 9




 1
                                        Event                                   Proposed Date
 2
               Close of Expert Discovery                                 April 17, 2026
 3

 4             Filing of Summary Judgment Motions on Fair Use1           May 19, 2026

 5             Filing of Daubert Motions                                 May 19, 2026

 6             Filing of Oppositions to Summary Judgment Motions         June 16, 2026
               on Fair Use
 7

 8             Filing of Oppositions to Daubert Motions                  June 16, 2026

 9             Filing of Replies in Support of Summary Judgment          July 14, 2026
               Motions on Fair Use
10

11             Filing of Replies in Support of Daubert Motion(s)         July 14, 2026

12             Hearing on Summary Judgment Motion on Fair Use            At the Court’s convenience
13             and Daubert Motions

14             Deadline for ﬁling Class Certiﬁcation Motion and/or       Dates to Be Conﬁrmed
               other Rule 56 Motions
15

16             Deadline for ﬁling Oppositions to Class Certiﬁcation      Dates to Be Conﬁrmed
               Motion and/or other Rule 56 Motions
17
               Deadline for ﬁling Replies in Support of Class            Dates to Be Conﬁrmed
18
               Certiﬁcation Motion and/or other Rule 56 Motions
19
               Hearing on Class Certiﬁcation and/or other Rule 56        At the Court’s convenience
20             Motions
21             Trial Ready Date                                          Dates to Be Conﬁrmed
22

23               e parties reserve the right to seek to revisit the schedule should subsequent developments
24   warrant such action.
25

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27   1
      Per the Court’s directive at the Case Management Conference on August 29, 2024, a party ﬁling a
28   motion for summary judgment in advance of class certiﬁcation waives the one-way intervention rule.
         Case No. 4:24-cv-01454-JST                     2
         Case No. 4:24-cv-02655-JST
                                       JOINT STIPULATION RE CASE SCHEDULE
              Case 4:24-cv-02655-JST Document 58 Filed 09/10/24 Page 4 of 9




 1   Dated: September 10, 2024                  Respectfully submitted,

 2                                             By: /s/ Joseph R. Saveri
 3
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                                                Elissa A. Buchanan (SBN 249996)
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                                                Arielle Wagner (admitted pro hac vice)
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20                                              Facsimile: (612)339-0981
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21                                                          lmmatson@locklaw.com
                                                            aswagner@locklaw.com
22
                                                            echang@locklaw.com
23
                                             Attorneys for the Nazemian Plaintiﬀs and the Proposed
24                                           Class

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      Case No. 4:24-cv-01454-JST                3
      Case No. 4:24-cv-02655-JST
                                   JOINT STIPULATION RE CASE SCHEDULE
              Case 4:24-cv-02655-JST Document 58 Filed 09/10/24 Page 5 of 9




 1   Dated: September 10, 2024                Respectfully submitted,

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                                             briano@dicellolevitt.com
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                                             Counsel for the Dubus Plaintiﬀs and Proposed Class
28
      Case No. 4:24-cv-01454-JST                4
      Case No. 4:24-cv-02655-JST
                                   JOINT STIPULATION RE CASE SCHEDULE
              Case 4:24-cv-02655-JST Document 58 Filed 09/10/24 Page 6 of 9




 1   Dated: September 10, 2024               Respectfully Submitted,

 2                                           By: /s/ Sean S. Pak
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17                                           Attorneys for Defendant NVIDIA Corporation

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      Case No. 4:24-cv-01454-JST                5
      Case No. 4:24-cv-02655-JST
                                   JOINT STIPULATION RE CASE SCHEDULE
               Case 4:24-cv-02655-JST Document 58 Filed 09/10/24 Page 7 of 9




 1                                             [PROPOSED] ORDER
 2          Pursuant to the stipulation of the Parties, and for good cause appearing, it is hereby ORDERED

 3   that the Parties shall adhere to the following case schedule:

 4
                                       Event                                 Proposed Date
 5
             Parties must submit stipulated ESI Protocol or each       September 19, 2024
 6           ﬁle letter brief up to 10 pages
 7
             Parties must submit stipulated Protective Order or        September 19, 2024
 8           each ﬁle letter brief up to 10 pages

 9           If required, parties each submit responsive brief up to   September 26, 2024
             5 pages regarding ESI Protocol
10

11           If required, parties each submit responsive brief up to   September 26, 2024
             5 pages regarding Protective Order
12
             Hearing on proposed Protective Order and ESI              October 16, 2024, 9:30 am
13
             Protocol                                                  PT
14
             Date by which parties must submit an agreed upon          March 25, 2025
15           Deposition Protocol or a joint letter brief regarding
             any disputed areas
16

17           Deadline for Plaintiﬀs to ﬁle an amended pleading         April 15, 2025

18           Substantial completion of production                      July 1, 2025
19           Deadline for Producing party to complete production       July 17, 2025
20           of privilege logs for any documents redacted or
             withheld on the basis of any privilege to date
21
             Close of Fact Discovery                                   November 20, 2025
22

23           Service of Opening Expert Report(s) (on issues for        January 7, 2026
             which a party bears the burden of proof)
24
             Service of Rebuttal Expert Report(s) (on issues for       February 18, 2026
25           which a party does not bear the burden of proof)
26
             Service of Expert Reply Report(s)                         April 1, 2026
27
             Close of Expert Discovery                                 April 17, 2026
28
       Case No. 4:24-cv-01454-JST                      1
       Case No. 4:24-cv-02655-JST
                                      [PROPOSED] ORDER RE CASE SCHEDULE
                 Case 4:24-cv-02655-JST Document 58 Filed 09/10/24 Page 8 of 9




 1
                                      Event                                  Proposed Date
 2
               Filing of Summary Judgment Motions on Fair Use2         May 19, 2026
 3
               Filing of Daubert Motions                               May 19, 2026
 4

 5             Filing of Oppositions to Summary Judgment Motions       June 16, 2026
               on Fair Use
 6
               Filing of Oppositions to Daubert Motions                June 16, 2026
 7

 8             Filing of Replies in Support of Summary Judgment        July 14, 2026
               Motions on Fair Use
 9
               Filing of Replies in Support of Daubert Motion(s)       July 14, 2026
10

11             Hearing on Summary Judgment Motion on Fair Use          At the Court’s convenience
               and Daubert Motions
12

13             Deadline for ﬁling Class Certiﬁcation Motion and/or     Dates to Be Conﬁrmed
               other Rule 56 Motions
14
               Deadline for ﬁling Oppositions to Class Certiﬁcation    Dates to Be Conﬁrmed
15
               Motion and/or other Rule 56 Motions
16
               Deadline for ﬁling Replies in Support of Class          Dates to Be Conﬁrmed
17             Certiﬁcation Motion and/or other Rule 56 Motions
18
               Hearing on Class Certiﬁcation and/or other Rule 56      At the Court’s convenience
19             Motions

20             Trial Ready Date                                        Dates to Be Conﬁrmed
21

22   IT IS SO ORDERED.

23

24   Dated: ________________                                       _________________________________
                                                                           e Honorable Jon S. Tigar
25                                                                        U.S. District Court Judge
26

27   2
      Per the Court’s directive at the Case Management Conference on August 29, 2024, a party ﬁling a
28   motion for summary judgment in advance of class certiﬁcation waives the one-way intervention rule.
         Case No. 4:24-cv-01454-JST                   2
         Case No. 4:24-cv-02655-JST
                                      [PROPOSED] ORDER RE CASE SCHEDULE
               Case 4:24-cv-02655-JST Document 58 Filed 09/10/24 Page 9 of 9




 1
                                ATTESTATION PURSUANT TO CIVIL L.R. 5-1
 2
               e ﬁler attests that the other signatories listed, on whose behalf the ﬁling is also submitted,
 3
     are registered CM/ECF ﬁlers and concur in the ﬁling’s content and have authorized the ﬁling.
 4

 5   Dated: September 10, 2024                                     /s/ Bryan L. Clobes
                                                                   Bryan L. Clobes
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       Case No. 4:24-cv-01454-JST                      1
       Case No. 4:24-cv-02655-JST
                                     ATTESTATION PURSUANT TO CIVIL L.R. 5-1
